Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 1 of 59 PageID #:
                                  58512
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 2 of 59 PageID #:
                                  58513
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 3 of 59 PageID #:
                                  58514
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 4 of 59 PageID #:
                                  58515
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 5 of 59 PageID #:
                                  58516
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 6 of 59 PageID #:
                                  58517
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 7 of 59 PageID #:
                                  58518
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 8 of 59 PageID #:
                                  58519
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 9 of 59 PageID #:
                                  58520
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 10 of 59 PageID #:
                                   58521
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 11 of 59 PageID #:
                                   58522
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 12 of 59 PageID #:
                                   58523
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 13 of 59 PageID #:
                                   58524
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 14 of 59 PageID #:
                                   58525
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 15 of 59 PageID #:
                                   58526
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 16 of 59 PageID #:
                                   58527
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 17 of 59 PageID #:
                                   58528
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 18 of 59 PageID #:
                                   58529
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 19 of 59 PageID #:
                                   58530
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 20 of 59 PageID #:
                                   58531
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 21 of 59 PageID #:
                                   58532
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 22 of 59 PageID #:
                                   58533
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 23 of 59 PageID #:
                                   58534
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 24 of 59 PageID #:
                                   58535
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 25 of 59 PageID #:
                                   58536
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 26 of 59 PageID #:
                                   58537
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 27 of 59 PageID #:
                                   58538
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 28 of 59 PageID #:
                                   58539
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 29 of 59 PageID #:
                                   58540
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 30 of 59 PageID #:
                                   58541
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 31 of 59 PageID #:
                                   58542
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 32 of 59 PageID #:
                                   58543
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 33 of 59 PageID #:
                                   58544
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 34 of 59 PageID #:
                                   58545
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 35 of 59 PageID #:
                                   58546
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 36 of 59 PageID #:
                                   58547
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 37 of 59 PageID #:
                                   58548
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 38 of 59 PageID #:
                                   58549
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 39 of 59 PageID #:
                                   58550
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 40 of 59 PageID #:
                                   58551
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 41 of 59 PageID #:
                                   58552
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 42 of 59 PageID #:
                                   58553
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 43 of 59 PageID #:
                                   58554
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 44 of 59 PageID #:
                                   58555
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 45 of 59 PageID #:
                                   58556
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 46 of 59 PageID #:
                                   58557
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 47 of 59 PageID #:
                                   58558
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 48 of 59 PageID #:
                                   58559
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 49 of 59 PageID #:
                                   58560
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 50 of 59 PageID #:
                                   58561
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 51 of 59 PageID #:
                                   58562
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 52 of 59 PageID #:
                                   58563
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 53 of 59 PageID #:
                                   58564
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 54 of 59 PageID #:
                                   58565
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 55 of 59 PageID #:
                                   58566
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 56 of 59 PageID #:
                                   58567
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 57 of 59 PageID #:
                                   58568
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 58 of 59 PageID #:
                                   58569
Case 1:04-cv-01945-JBW-SMG Document 892-20 Filed 06/09/06 Page 59 of 59 PageID #:
                                   58570
